      Case 17-24466-CMB                         Doc 106        Filed 01/31/23 Entered 01/31/23 14:26:45                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              NICHOLAS GIGLIOTTI


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-24466CMB




Form 4100N
Notice of Final Cure Payment                                                                                                         10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 NATIONSTAR MORTGAGE LLC D/B/A MR                                                  4

 Last 4 digits of any number you use to identify the debtor's account                         7   3   1   7

 Property Address:                             511 DEBROAH JANE DR
                                               PITTSBURGH PA 15239




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $     25,834.68

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $     25,834.68

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $          0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $          0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $          0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $          0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $     25,834.68



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $     $1,128.66
         The next postpetition payment is due on                 2 / 3 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     NICHOLAS GIGLIOTTI                                               Case number   (if known)   17-24466CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    01/31/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     NICHOLAS GIGLIOTTI                                         Case number   (if known)   17-24466CMB
             Name




                                              Disbursement History

Date         Check #    Name                                  Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
04/26/2019   1116378    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,276.23
05/24/2019   1119778    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 581.15
06/25/2019   1123182    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 581.15
07/29/2019   1126625    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 596.91
08/27/2019   1130099    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 596.91
09/24/2019   1133380    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 596.91
10/24/2019   1136731    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,513.93
11/25/2019   1140185    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 571.29
12/23/2019   1143567    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 571.29
01/28/2020   1147030    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 575.25
02/25/2020   1150548    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 575.25
03/23/2020   1154033    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 575.25
04/27/2020   1157491    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,482.43
05/26/2020   1160822    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 500.37
06/26/2020   1163975    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 500.37
07/29/2020   1167083    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 500.37
08/25/2020   1170160    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 500.37
09/28/2020   1173255    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,407.55
11/24/2020   1179419    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 134.84
12/21/2020   1182360    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 527.95
01/25/2021   1185335    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,448.92
02/22/2021   1188465    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 527.95
03/26/2021   1191762    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,448.92
04/22/2021   1191762    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           CANCELLED CHECK TO CREDITOR/PRINCIPLE                      -1,448.92
04/22/2021   1193077    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           PREWRITTEN CHECK TO CREDITOR/PRINCIPLE                      1,448.92
04/26/2021   1195004    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 527.95
05/25/2021   1198126    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 527.95
06/25/2021   1201309    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 278.65
07/26/2021   1204513    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 453.66
08/26/2021   1207638    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 413.79
09/24/2021   1210758    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,294.89
10/25/2021   1213827    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 379.97
06/27/2022   1237943    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 297.98
07/26/2022   1240883    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 396.95
08/24/2022   1243773    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 396.95
09/27/2022   1246644    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,261.19
10/25/2022   1249463    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 471.62
11/23/2022   1252249    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                                 514.53
01/26/2023   1257733    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,027.04
                                                                                                                     25,834.68

MORTGAGE REGULAR PAYMENT (Part 3)
05/25/2018   1081266    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              5,685.55
06/22/2018   1084390    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,046.46
07/26/2018   1087633    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,181.41
08/28/2018   1090848    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,394.07
09/25/2018   1093980    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,451.78
10/29/2018   1097227    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              2,254.64
11/27/2018   1100355    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,634.67
12/21/2018   1103453    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,592.91
01/25/2019   1106682    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,580.10
02/25/2019   1109926    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,567.84
03/25/2019   1113213    PACIFIC UNION FINANCIAL LLC        AMOUNTS DISBURSED TO CREDITOR                              1,552.49
04/26/2019   1116378    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,264.26
05/24/2019   1119778    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
06/25/2019   1123182    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
07/29/2019   1126625    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
08/27/2019   1130099    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
09/24/2019   1133380    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
10/24/2019   1136731    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
11/25/2019   1140185    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
12/23/2019   1143567    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22
01/28/2020   1147030    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR                              1,111.22

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Debtor 1     NICHOLAS GIGLIOTTI                                         Case number   (if known)   17-24466CMB
             Name




                                              Disbursement History

Date         Check #    Name                                  Posting Type                                            Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
02/25/2020   1150548    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
03/23/2020   1154033    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
04/27/2020   1157491    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
05/26/2020   1160822    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
06/26/2020   1163975    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
07/29/2020   1167083    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
08/25/2020   1170160    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
09/28/2020   1173255    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
10/26/2020   1176350    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR               870.46
11/24/2020   1179419    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,351.98
12/21/2020   1182360    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
01/25/2021   1185335    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
02/22/2021   1188465    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
03/26/2021   1191762    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
04/22/2021   1191762    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           CANCELLED CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                    -1,111.22
04/22/2021   1193077    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                     1,111.22
04/26/2021   1195004    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
05/25/2021   1198126    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,111.22
06/25/2021   1201309    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,360.52
07/26/2021   1204513    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,145.64
08/26/2021   1207638    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,145.64
09/24/2021   1210758    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,145.64
10/25/2021   1213827    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,145.64
11/22/2021   1216868    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,145.64
12/23/2021   1219939    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,082.66
01/26/2022   1222996    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,208.62
02/23/2022   1225876    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,145.64
03/25/2022   1228830    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
04/26/2022   1231879    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
05/25/2022   1234912    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
06/27/2022   1237943    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
07/26/2022   1240883    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
08/24/2022   1243773    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
09/27/2022   1246644    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
10/25/2022   1249463    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
11/23/2022   1252249    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
12/22/2022   1255003    NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
                                                           AMOUNTS DISBURSED TO CREDITOR             1,128.66
                                                                                                   71,798.92




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

NICHOLAS GIGLIOTTI
C/O LAWRENCE W WILLIS ESQ
WILLIS & ASSOCIATES
201 PENN CENTER BLVD STE 310
PITTSBURGH, PA 15235

LAWRENCE W WILLIS ESQ
WILLIS & ASSOCIATES
201 PENN CENTER BLVD STE 310
PITTSBURGH, PA 15235

NATIONSTAR MORTGAGE LLC D/B/A MR COOPER(*)
PO BOX 619094
DALLAS, TX 75261-9741

NATIONSTAR MORTGAGE LLC D/B/A MR COOPER**
ATTN BANKRUPTCY NOTICING
PO BOX 619096
DALLAS, TX 75261-9741

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




1/31/23                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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